Case: 1:05-cv-04620 Document #: 74-3 Filed: 11/27/06 Page 1 of 2 PagelD #:424

BRIAN KODISH

Vv.

OAKBROOK TERRACE FIRE PROTECTION
DISTRICT, GREGORY J. SEBESTA, DONALD
VENTURA, ANDY SARALLO AND JOE
DRAGOVICH,

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT, EASTERN DIVISION

Plaintif¥,
No. 05 C 4620

JUDGE FILIP

Defendants.

AFFIDAVIT OF BRIAN KODISH

I, Brian Kodish, being first duly sworn under oath, depose and state the following.

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2,

J am over the age of 18.

After I signed the letter of resignation on August 12, 2004, my insurance —
benefits from Oakbrook Terrace Fire Protection District ended at the end
of August 2004. Starting in September 2004, I paid for COBRA insurance
coverage.

After being terminated by Oakbrook Terrace Fire Protection District, I.
received unemployment insurance benefits.

In 2003, I overheard Lt, Turkovich tell firefighter/paramedic Michael Kus
that the Chief Sebesta does not like unions.

Pat Arends told me my first week on the job that Chief Sebesta does not
like unions because you have to live and die by the rules.

Chief Sebesta told me during my first 6 months that he did not like unions
because you then have to “live and die with the rules”. He told me that
again on August 12, 2004, when he told me I was being terminated for
taking a sick day that I had not earned. Those were the only 2 times he
used the phrase “live and die by the rules”.

The only discipline J received was for not letting the engine cool off
before parking it in the firehouse.

I have personal knowledge of the above.

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If called at trial 1 would so testify.

Further affiant sayeth naugbt.
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Sree. —_fK<ese

Brian Kodish

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Subscribed and swom to before me this
RL vA day of November, 2006

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Notary Public

My commission expites on

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